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                                                                  FILED
                                                                May 09, 2022
                                                           CLERK, U.S. DISTRICT COURT
                                                           WESTERN DISTRICT OF TEXAS

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